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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  AMERICAN SENIOR COMMUNITIES, L.L.C.,          )
                                                )
             Plaintiff,                         ) Case No.: 1:17-cv-3273-SEB-DML
                                                )
       v.                                       ) Honorable Sarah Evans Barker
                                                )
  JAMES BURKHART, et al.                        ) Honorable Debra McVicker Lynch
                                                )
             Defendants.                        )


                             CASE MANAGEMENT PLAN

  I.   Parties and Representatives

       A.    Plaintiff: American Senior Communities, L.L.C. (“ASC”)

       B.    Defendants:
             a. James Burkhart
             b. Daniel Benson
             c. Roger Werner
             d. Steven Ganote
             e. Joshua Burkhart
             f. ACCD LLC (d/b/a Crusader Healthcare Services III)
             g. American Senior Care LLC
             h. Bright HVAC LLC
             i. BTS Solutions LLC
             j. BTS Ventures LLC (d/b/a Best Choice)
             k. Cardinal Distribution LLC
             l. Circle Consulting LLC
             m. Finite Capital LLC (d/b/a Healthcare By Design)
             n. Force Holding Company LLC
             o. Heartland Flag LLC
             p. Indiana Uniform Company LLC
             q. JACCD LLC (d/b/a Crusader IV)
             r. Med-Healthline Supply LLC
             s. Oregon Properties LLC
             t. 105214 Investments LLC (d/b/a Crusader Healthcare Services)
             u. 105210 Investments LLC (d/b/a Crusader Healthcare Services II)
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         C.      Attorneys:

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  Design), Force Holding Company LLC,
  Indiana Uniform Company LLC, Med-
  Healthline Supply LLC, and Oregon Properties
  LLC


        Counsel shall promptly file a notice with the Clerk if there is any change in this
        information.

  II.   Jurisdiction and Statement of Claims

        A.     Basis for Jurisdiction: ASC has brought claims against Defendants alleging
               violations of the Racketeer Influence and Corrupt Organizations Act (“RICO”).
               The Court has subject matter jurisdiction over ASC’s RICO claims asserted in this
               Complaint pursuant to 28 U.S.C. § 1331. The Court has supplemental jurisdiction
               over ASC’s claims arising out of the laws of Indiana pursuant to 28 U.S.C.
               § 1367(a) because these claims are so related to ASC’s claims under federal law
               that they form part of the same case or controversy and derive from a common
               nucleus of operative fact.

        B.     Plaintiff’s Claims: From approximately 2008 through at least September 15, 2015,
               Defendants systematically looted ASC through a pattern of racketeering activity.
               During this time period, ASC was focused on its mission: to care for some of
               society’s most vulnerable persons, the sick and the elderly. Defendants exploited
               ASC’s singular focus on providing first-class care to its patients to defraud the
               Company out of tens of millions of dollars through the following schemes:

               1. frauds that required ASC to pay inflated prices for products and services to
                  companies secretly owned and/or controlled by the Burkhart/Benson
                  Enterprise (as defined in the Complaint), and to companies that remitted
                  kickbacks to the Burkhart/Benson Enterprise;
               2. frauds that required ASC to pay unnecessary fees pursuant to a sham contract
                  to a company owned and/or controlled by the Burkhart/Benson Enterprise in
                  return for little or no benefit;
               3. frauds that caused ASC to pay inflated salaries and bonuses to defendants
                  Burkhart, Benson, and Werner;
               4. frauds that enabled the Burkhart/Benson Enterprise to obtain lavish benefits,
                  including skyboxes for sporting events, the use of private jets, golf trips, and




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                      expensive meals for themselves and their associates at the expense of ASC;
                      and
                   5. fraudulent misdirection of ASC’s corporate opportunities for the benefit of the
                      Burkhart/Benson Enterprise.


          C.       Defendants’ Claims or Defenses:

                   1. James Burkhart: James Burkhart and related corporate defendants1 fully
                      dispute Plaintiff’s charges and will contest the inaccurate and misleading
                      factual allegations that underlie Plaintiff’s complaint. All claims pertaining to
                      Mr. Burkhart are factually unsupported and legally deficient. In particular,
                      and among other things, Plaintiff’s complaint omits: (a) essential parties; (b)
                      that Plaintiff has an established means of recovering its loses through a pre-
                      existing Restitution Order; and (c) that Plaintiff and its owners’ had
                      knowledge of and were involved in the acts upon which the claims against Mr.
                      Burkhart and his co-defendants are premised. Further, at no time was James
                      Burkhart aware of or a party to an Indiana state or federal RICO-related
                      enterprise. Accordingly, Mr. Burkhart will be seeking dismissal of the
                      complaint and will establish that he is not liable for the claims alleged therein.

                   2. Daniel Benson: Defendant Benson denies that his actions amount to
                      racketeering activity as alleged by Plaintiff, asserts that Plaintiff and its
                      owners were grossly negligent in managing Plaintiff’s business and
                      supervising Plaintiff’s CEO James Burkhart, further asserts that he was
                      himself defrauded by the manipulative actions of Burkhart, and further asserts
                      that Plaintiff already has a means of recovering its loses through a pre-existing
                      Restitution Order.

                   3. Ganote Defendants2: From 2008 through September 15, 2015, Defendants
                      endeavored to provide first class service and high quality products to the
                      residents of ASC. Defendants deny that their actions rose to the level of
                      racketeering activity alleged by Plaintiff. This is particularly true regarding
                      Defendant Ganote, who never served as an employee or fiduciary of ASC and
                      who was himself defrauded by the manipulative actions of ASC CEO James
                      Burkhart.

  1
   Unless stated otherwise, all references to James Burkhart also reflect the position of Defendants ACCD LLC (d/b/a
  Crusader Healthcare Services III), American Senior Care LLC, JACCD LLC (d/b/a Crusader IV, 105214
  Investments LLC (d/b/a Crusader Healthcare Services, and 105210 Investments LLC (d/b/a Crusader Healthcare
  Services II).
  2
   The “Ganote Defendants” include Steven Ganote, Bright HVAC LLC, BTS Solutions LLC, BTS Ventures LLC
  (d/b/a Best Choice), Cardinal Distribution LLC, Finite Capital LLC (d/b/a Healthcare By Design), Force Holding
  Company LLC, Indiana Uniform Company LLC, Med-Healthline Supply LLC, and Oregon Properties LLC.




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                    4. Roger Werner: Roger Werner contends that as to the RICO claims, he was not
                       a party to, beneficiary of, or involved in the frauds. He had no knowledge of
                       the fraudulent nature of the “Burkhart/Benson Enterprise.” As to the
                       negligence claims, Werner contends that the Plaintiff and its owners were
                       grossly negligent in managing the business, supervising (James) Burkhart and
                       Benson, and willfully failed to consult with Werner, who was the CFO, on
                       budgetary matters relating to the company and barred him from monthly
                       meetings. Werner also claims that the salary and bonuses he received were
                       authorized under his employment contract, and that he had no reason to
                       believe they were not. Accordingly, he is not liable for the fraud, negligence,
                       and equitable claims.

                    5. Joshua Burkhart: Counsel has not appeared on behalf of Joshua Burkhart and
                       related corporate defendants Circle Consulting LLC and Heartland Flag LLC.


  III.     Pretrial Pleadings and Disclosures

           The Southern District of Indiana Uniform Case Management Plan requires that the
           following dates be based on the “Anchor Date,” which is the date the case was filed or
           removed to the Court. Because this case was filed on September 15, 2017 and later
           stayed, using the date of the case filing is not practicable in this matter. Accordingly, the
           Parties have utilized October 17, 2018 – the date of the Court’s order directing the
           submission of this Case Management Plan – as the Anchor Date.

           As an initial matter, the Defendants shall file and serve their answers to Plaintiff’s
           Complaint or any applicable motion to dismiss on or before December 14, 2018. If
           Defendants file a motion to dismiss, they shall have 28 days from the Court’s ruling on
           the motion to dismiss to file their answers.

           A.       The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
                    January 18, 2019.3

           B.       Plaintiff(s) shall file preliminary witness and exhibit lists on or before January 25,
                    2019.

           C.       Defendant(s) shall file preliminary witness and exhibit lists on or before
                    February 1, 2019.


  3
   The parties note that the protective order entered in the case of United States v. Burkhart, et al., Case No. 1:16-cr-
  00212-TWP-TAB (S.D. Ind.) (Dkt. 124), protects against disclosure of certain documents that will be sought in
  discovery in this case. The parties will work in good faith to resolve issues related to that protective order.




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       D.    All motions for leave to amend the pleadings and/or to join additional parties shall
             be filed on or before April 17, 2019.

       E.    Plaintiff(s) shall serve Defendant(s) (but not file with the Court) a statement of
             special damages, if any, and make a settlement demand, on or before
             April 17, 2019. Defendant(s) shall serve on the Plaintiff(s) (but not file with the
             Court) a response thereto on June 12, 2019.

       F.    Except where governed by paragraph (G) below, expert witness disclosure
             deadlines shall conform to the following schedule: Plaintiff(s) shall disclose the
             name, address, and vita of any testifying expert witness, and shall serve the report
             required by Fed. R. Civ. P. 26(a)(2) on or before July 19, 2019. Defendant(s)
             shall disclose the name, address, and vita of any testifying expert witness, and
             shall serve the report required by Fed. R. Civ. P. 26(a)(2) on or before September
             20, 2019; or if Plaintiff has disclosed no experts, Defendant(s) shall make its
             expert disclosure on or before September 20, 2019.

       G.    Notwithstanding the provisions of paragraph (F), above, if a party intends to use
             expert testimony in connection with a motion for summary judgment to be filed
             by that party, such expert disclosures must be served on opposing counsel no later
             than 90 days prior to the dispositive motion deadline. If such expert disclosures
             are served the parties shall confer within 7 days to stipulate to a date for
             responsive disclosures (if any) and completion of expert discovery necessary for
             efficient resolution of the anticipated motion for summary judgment. The parties
             shall make good faith efforts to avoid requesting enlargements of the dispositive
             motions deadline and related briefing deadlines. Any proposed modifications of
             the CMP deadlines or briefing schedule must be approved by the Court.

       H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
             such objections no later than October 4, 2019. Any party who wishes to preclude
             expert witness testimony at the summary judgment stage shall file any such
             objections with their responsive brief within the briefing schedule established by
             Local Rule 56-1.

       I.    All parties shall file and serve their final witness and exhibit lists on or before
             December 17, 2019. This list should reflect the specific potential witnesses the
             party may call at trial. It is not sufficient for a party to simply incorporate by
             reference “any witness listed in discovery” or such general statements. The list of
             final witnesses shall include a brief synopsis of the expected testimony.

       J.    Any party who believes that bifurcation of discovery and/or trial is appropriate
             with respect to any issue or claim, shall file an appropriate motion and with a
             proposed briefing schedule as soon as practicable.




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                   K.       Discovery of electronically stored information (“ESI”). The parties believe that
                            this case will require the production of a substantial volume of ESI. Accordingly,
                            the parties have completed the ESI Supplement to the Report of the Parties’
                            Planning Meeting, which is attached hereto.

           IV.     Discovery4 and Dispositive Motions


                   A.       The Parties’ positions regarding summary judgment or other dispositive motions
                            are set forth below.

                        a. Plaintiff’s Position: Plaintiff intends to seek partial summary judgment on
                           matters encompassed by those Defendants who were charged and entered into
                           guilty pleas and related admissions during the case of United States v.
                           Burkhart, et al., Case No. 1:16-cr-00212-TWP-TAB (S.D. Ind.). In that
                           proceeding, Defendants James Burkhart, Joshua Burkhart, Daniel Benson, and
                           Steven Ganote (“Criminal Defendants”) pled guilty to committing several of
The court grants the leave the frauds alleged in Plaintiff’s Complaint. Accordingly, from Plaintiff’s
sought in this paragraph. perspective, Criminal Defendants’ liability for those frauds is established, and
DML                        Criminal Defendants are estopped from arguing to the contrary. Additionally,
11/8/18                    under certain circumstances, Criminal Defendants may be estopped from
                           contesting the compensatory damages suffered by Plaintiff as a result of the
                           frauds to which they plead guilty. Therefore, a motion for partial summary
                           judgment on liability, and possibly on compensatory damages, for the frauds
                           at issue in the criminal case may be appropriate. Plaintiff is aware that, absent
                           leave of Court, and for good cause shown, all issues raised on summary
                           judgment under Fed. R. Civ. P. 56 must be raised by a party in a single
                           motion. In this case, however, Plaintiff contends that the filing of an early
                           motion for partial summary judgment on issues related to the criminal case
                           would potentially narrow the issues in dispute and promote efficiency in this
                           litigation. Accordingly, Plaintiff submits that good cause exists to file an early
                           motion for partial summary judgment, while reserving the right to file an
                           additional motion for summary judgment at a later date, should discovery
                           reveal that such a motion is appropriate.

                            b. Defendants’ Positions:



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                     The term “completed,” as used in Section IV.B, means that counsel must serve their discovery requests in
           enough time to receive responses before this deadline. Counsel may not serve discovery requests within the 30-day
           period before this deadline unless leave of Court is sought to serve a belated request and show good cause for the
           same. In such event, the proposed belated discovery request shall be filed with the motion, and the opposing party
           will receive it with service of the motion but need not respond to the same until such time as the Court grants the
           motion.




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                              i. James Burkhart: James Burkhart reserves on his position as to whether
                                 some or all of the claims may be disposed of by a Motion for
                                 Summary Judgment. Counsel for Mr. Burkhart have just entered
                                 appearances in this matter and have not had time sufficient to obtain or
                                 review the substantial document discovery that has already been
                                 amassed in relation to the claims asserted in the complaint. In
                                 addition, as Mr. Burkhart is currently incarcerated at the Federal
                                 Prison Camp in Montgomery, Alabama, counsel for Mr. Burkhart have
                                 had limited opportunity to discuss this matter with their client and will
                                 continue to have limitations on their opportunities to confer with their
                                 client regarding this matter so long as he is incarcerated.

                             ii. Ganote Defendants: At this time, the Ganote Defendants do not
                                 believe that this case is appropriate for summary judgment.

                            iii. Roger Werner: Werner believes that some or all of the RICO claims
                                 may be disposed of by a Motion for Summary Judgment. Such an
                                 assessment cannot be made until discovery is well under way.
                                 Werner, unlike the Criminal Defendants and Plaintiff, has not been
                                 privy to the discovery that was provided during the criminal case. The
                                 scope of that discovery has been described as over one million
                                 documents or roughly ten terabytes of data. As a result, Werner
                                 cannot offer a more specific prognostication than that which has been
                                 set forth in this paragraph. Werner reserves his right to contest
                                 Plaintiff’s position with respect to Plaintiff’s motion for summary
                                 judgment until a later time. Further, Werner requests that this issue be
                                 addressed with Plaintiff seeking leave of the Court and explaining in
                                 detail the manner in which it may limit discovery and serve the
                                 interests of judicial economy. Werner contends that there is nothing
                                 about this case that should relieve Plaintiffs of the obligation to seek
                                 leave of the Court before filing multiple motions for summary
                                 judgment.

           B.       The parties believe that Track 2 best suits this case: Dispositive motions are
                    expected and shall be filed by December 13, 2019, with the exception that
                    Plaintiff requests leave to file a dispositive motion related to Defendants’ guilty
                    pleas, as described above, by April 17, 2019; non-expert witness discovery and
                    discovery relating to liability issues shall be completed by August 19, 2019;5
                    expert witness discovery and discovery relating to damages shall be completed by
                    October 31, 2019. All remaining discovery shall be completed by no later than 16
                    months from Anchor Date.
  5
   Werner, contrary to all other parties, has not seen discovery related to the subject matter of the complaint. Thus, for
  good cause shown, Werner may seek an extension of this deadline. Prior to seeking any extension, the parties will
  confer in good faith in and will attempt to submit any requests for extension on an unopposed basis.




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  V.     Pre-Trial/Settlement Conferences

         At any time, any party may call the Judge's Staff to request a conference, or the Court
         may sua sponte schedule a conference at any time. The presumptive time for a settlement
         conference is no later than 30 days before the close of non-expert discovery.

  VI.    Trial Date

         The parties request a trial date in May 2020. The trial is by jury and is anticipated to take
         fifteen days.

  VII.   Referral to Magistrate Judge

         A.     Case. At this time, all parties do not consent to refer this matter to the currently
                assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Federal Rules of
                Civil Procedure 73 for all further proceedings including trial.

         B.     Motions. The parties may also consent to having the assigned Magistrate Judge
                rule on motions ordinarily handled by the District Judge, such as motions to
                dismiss, for summary judgment, or for remand. If all parties consent, they should
                file a joint stipulation to that effect. Partial consents are subject to the approval of
                the presiding district judge.

  VIII. Required Pre-Trial Preparation

         A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
                parties shall:

                1.      File a list of trial witnesses, by name, who are expected to be called to
                        testify at trial. This list may not include any witnesses not on a party’s
                        final witness list filed pursuant to section III.I.

                2.      Number in sequential order all exhibits, including graphs, charts and the
                        like, that will be used during the trial. Provide the Court with a list of
                        these exhibits, including a description of each exhibit and the identifying
                        designation. Make the original exhibits available for inspection by
                        opposing counsel. Stipulations as to the authenticity and admissibility of
                        exhibits are encouraged to the greatest extent possible.

                3.      Submit all stipulations of facts in writing to the Court. Stipulations are
                        always encouraged so that at trial, counsel can concentrate on relevant
                        contested facts.




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              4.    A party who intends to offer any depositions into evidence during the
                    party's case in chief shall prepare and file with the Court and copy to all
                    opposing parties either:

                    a.      brief written summaries of the relevant facts in the depositions that
                            will be offered. (Because such a summary will be used in lieu of
                            the actual deposition testimony to eliminate time reading
                            depositions in a question and answer format, this is strongly
                            encouraged.); or

                    b.      if a summary is inappropriate, a document which lists the portions
                            of the deposition(s), including the specific page and line numbers,
                            that will be read, or, in the event of a video-taped deposition, the
                            portions of the deposition that will be played, designated
                            specifically by counter-numbers.

              5.    Provide all other parties and the Court with any trial briefs and motions in
                    limine, along with all proposed jury instructions, voir dire questions, and
                    areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                    findings of fact and conclusions of law).

              6.    Notify the Court and opposing counsel of the anticipated use of any
                    evidence presentation equipment.

        B.    ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
              parties shall:

              1.    Notify opposing counsel in writing of any objections to the proposed
                    exhibits. If the parties desire a ruling on the objection prior to trial, a
                    motion should be filed noting the objection and a description and
                    designation of the exhibit, the basis of the objection, and the legal
                    authorities supporting the objection.

              2.    If a party has an objection to the deposition summary or to a designated
                    portion of a deposition that will be offered at trial, or if a party intends to
                    offer additional portions at trial in response to the opponent's designation,
                    and the parties desire a ruling on the objection prior to trial, the party shall
                    submit the objections and counter summaries or designations to the Court
                    in writing. Any objections shall be made in the same manner as for
                    proposed exhibits. However, in the case of objections to video-taped
                    depositions, the objections shall be brought to the Court's immediate
                    attention to allow adequate time for editing of the deposition prior to trial.

              3.    File objections to any motions in limine, proposed instructions, and voir
                    dire questions submitted by the opposing parties.



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                4.     Notify the Court and opposing counsel of requests for separation of
                       witnesses at trial.

  IX.    Other Matters

         A.     The Parties also intend to file (1) an Agreed Protective Order, (2) an Agreed
                Qualified HIPAA Protective Order, and (3) an Agreed Order Pursuant to F.R.E.
                502(d).

  Respectfully Submitted,                         November 7, 2018

  /s/ Eli J. Litoff                               /s/ Daniel S. Maland (with permission)
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                                             105210 Investments LLC (d/b/a Crusader
                                             Healthcare Services II)

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  Healthline Supply LLC, and Oregon Properties
  LLC




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               PARTIES APPEARED IN PERSON/BY COUNSEL ON                   FOR A
               PRETRIAL/STATUS CONFERENCE.
     X
               APPROVED AS SUBMITTED.

               APPROVED AS AMENDED.

               APPROVED AS AMENDED PER SEPARATE ORDER.

               APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
               SHORTENED/LENGTHENED BY ______________ MONTHS.


               APPROVED, BUT THE DEADLINES SET IN SECTION(S)
               _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
               ______________ MONTHS.


               THIS MATTER IS SET FOR TRIAL BY                   ON
               _____________________________. FINAL PRETRIAL CONFERENCE IS
               SCHEDULED FOR ____________________________________ AT     .M.,
               ROOM                   .


               A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                                AT       .M. COUNSEL SHALL APPEAR:

                                       IN PERSON IN ROOM           ; OR

                                        BY TELEPHONE, WITH COUNSEL FOR
                          INITIATING THE CALL TO ALL OTHER PARTIES AND
                          ADDING THE COURT JUDGE AT (____)
                          ___________________; OR

                                        BY TELEPHONE, WITH COUNSEL
                          CALLING THE JUDGE'S STAFF AT (____)
                          ___________________;


               DISPOSITIVE MOTIONS SHALL BE FILED NO LATER
               THAN ____12/13/19_________________



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         Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
  Order of the Court may result in sanctions for contempt, or as provided under Rule 16(f), to and
  including dismissal or default.

         Approved and So Ordered.

              Date: 11/8/2018


                                                      ____________________________________
                                                         Debra McVicker Lynch
                                                         United States Magistrate Judge
                                                         Southern District of Indiana
  Distribution:

  All ECF-Registered counsel of record via email generated by the court’s ECF system

  Service via U.S. Mail on:

  Joshua Burkhart, No. 15428-028
  FCI Terre Haute
  4200 Bureau Road North
  Terre Haute, IN 47808




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 7, 2018, I caused the foregoing document to be

  electronically filed using he CM/ECF system, which will send notice of this filing to all counsel

  of record. Additionally, notice of this filing will be sent via U.S. Mail, postage prepaid, to Joshua

  Burkhart, Circle Consulting LLC, and Heartland Flag LLC at the following address:

         Joshua Burkhart, No. 15428-028
         FCI Terre Haute
         4200 Bureau Road North
         Terre Haute, IN 47808
                                                        /s/ Eli J. Litoff
                                                        Eli J. Litoff
                                                        Riley Safer Holmes & Cancila LLP
                                                        Three First National Plaza
                                                        70 W. Madison Street, Suite 2900
                                                        Chicago, Illinois 60602
                                                        312-471-8700
                                                        elitoff@rshc-law.com




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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION


      AMERICAN SENIOR COMMUNITIES, L.L.C.,                          )
                                                                    )
                       Plaintiff,                                   ) Case No.: 1:17-cv-3273-SEB-DML
                                                                    )
              v.                                                    ) Honorable Sarah Evans Barker
                                                                    )
      JAMES BURKHART, et al.                                        ) Honorable Debra McVicker Lynch
                                                                    )
                       Defendants.                                  )


                          ESI SUPPLEMENT TO CASE MANAGEMENT PLAN


             1. Discovery Scope. Following a detailed discussion between counsel of a discovery
                plan for this matter, each party should outline below the categories and types of
                information that party intends to seek in discovery in this matter. This outline should
                include, in addition to identification of the various topics on which discovery will be
                sought and identification of the nature and type of documents to be produced, a list by
                each party of the potentially relevant custodians of such information and the date
                ranges relevant to discovery in this matter.

                   Plaintiff: ASC anticipates discovery will focus on: (1) Defendants’ ownership of,
                   relationship to, and receipt of funds from vendors providing services to ASC; (2)
                   Defendants’ statements and representations concerning their relationship to such
                   vendors; (3) Jim Burkhart, Benson, and Werner’s receipt of “bonus” payments from
                   ASC; (4) Jim Burkhart, Benson, and Werner’s use of ASC funds for travel,
                   entertainment, and similar expenses; (4) Jim Burkhart’s receipt of funds related to
                   put/covenant support/consulting agreements, and any statements and representations
                   made by Jim Burkhart regarding the same; and (5) Jim Burkhart’s receipt of funds
                   pursuant to any business transactions with Chinese entities, and any statements and
                   representations made by Jim Burkhart regarding same. The potentially relevant
                   custodians for ASC data include Defendants and other high-level employees of ASC.
                   The potentially relevant custodians for defendants’ data include defendants’ personal
                   accounts and devices and anyone acting on defendants’ behalf related to these topics.
                   ASC believes the relevant timeframe for discovery is generally 2008 through
                   September 15, 2015.

                   Defendant(s): Werner and James Burkhart anticipate that discovery will focus on: (1)
                   all allegations in the ASC Complaint1; (2) all affirmative defenses asserted by

  1
      Depending on the outcome of Defendants’ motions to dismiss.
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           Defendants; and (3) ASC owners’ knowledge and activities concerning the
           allegations in the Complaint.

           The Ganote Defendants anticipate that discovery will focus on the allegations
           outlined in Plaintiff’s Complaint; the defendants’ provision of goods and services to
           ASC; the knowledge of ASC’s owners as to the activities alleged in the Complaint;
           and any information related to affirmative defenses raised by Ganote or other
           Defendants.

        2. ESI Sources and Volumes. With regard to the discovery outlined in paragraph 1,
           each party shall discuss the types of ESI (e.g., Outlook e-mail, Word documents,
           Excel spreadsheets, CAD drawings, etc.) implicated by the opposing party’s requests
           (meaning that Defendant should address the categories and types of information
           identified by the Plaintiff, etc.), any proprietary software involved in the production
           of such ESI, the location of such ESI (e.g., 14 servers located in 3 states, 57
           individual PC hard drives that are not connected to a central server, etc.), and the
           estimated volume of ESI implicated by such requests (e.g., 20 GB of Outlook .pst
           files, 500 MB of Excel spreadsheets, etc.).

           Plaintiff: ASC has collected and preserved a large volume of ESI from ASC’s email
           and file servers, financial and accounting systems, and from various hardware
           sources. ASC anticipates that the following non-inclusive list of ESI sources within
           the Defendants’ possession, custody, or control contain potentially relevant
           information:
                    i. Productions of ESI received by Defendants in ASC v. Burkhart, et al.,
                       Case No. 1:16-cr-00212-TWP-TAB
                   ii. Personal and professional email accounts associated with the defendants,
                       including, but not limited to:
                           1. sjganote@yahoo.com
                           2. srbllc@sbcglobal.net
                           3. oregonproperties@yahoo.com
                           4. Justin.barnes@heartlandflag.com
                           5. Jburk11@hotmail.com
                           6. walter@healthcare-by-design.com
                           7. support@healthcare-by-design.com
                           8. healthcarebydesign@yahoo.com
                           9. Other email accounts used by Defendants, including personal
                                email accounts for Jim Burkhart, Benson, and Werner.
                  iii. Home computers and other personal devices used by defendants, including
                       data collected by the Government.
                  iv. Portable media such as thumb drives and external hard drives used by
                       defendants to store or access data.
                   v. Cloud-based storage accounts (e.g., iCloud, Dropbox) used by defendants
                       or their representatives to store or access data.
                  vi. Paper files




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           Defendants:

           Defendant Werner collected and preserved personal email and texts from his
           Samsung Galaxy 5 pursuant to a federal criminal subpoena.

           Defendant James Burkhart has recently retained new counsel and is working with his
           attorneys to establish the nature and scope of relevant discovery that has previously
           been collected and preserved. Mr. Burkhart will exchange this information with all
           parties once it has been finalized.


           Defendants Werner and Burkhart anticipate that the following list of ESI sources
           within Plaintiff’s possession, custody, or control contain potentially relevant
           information: ASC’s email and file servers, financial and accounting systems, and
           from various hardware sources.

           The Ganote Defendants anticipate that electronic discovery will include emails from
           multiple accounts maintained by Steve Ganote, telephone text and voicemail
           messages, and data stored on portable media or other storage devices.

        3. Accessibility. Identify any potential sources of ESI in this matter that are “not
           reasonably accessible” as defined by Fed. R. Civ. P. 26(b)(2)(B).

           Plaintiff: None.

           Defendants:

           Defendant Werner: None.

           James Burkhart is currently incarcerated and does not have access to ESI. That being
           said, Mr. Burkhart will alert all parties should he uncover any potential sources of ESI
           that are not reasonably accessible as defined by Fed. R. Civ. P. 26(b)(2)(B).

           Ganote Defendants: None.


        4. ESI Management Software. Describe the software each party intends to use to
           manage any ESI produced in this matter and identify the Information Technology
           personnel primarily responsible for assisting counsel with the production and
           management of ESI in this matter.

           Plaintiff: ASC anticipates the parties will use their own tools to manage any ESI
           produced in this matter, and there will not be sharing of resources.

           Defendants: Defendants Werner, James Burkhart, and the Ganote Defendants agree.




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        5. Metadata. Identify the potential sources of metadata in this matter and each party’s
           anticipated use of metadata in this matter.

           Plaintiff: ASC anticipates the parties will agree upon an ESI Protocol that will set
           forth the particular metadata fields to be included in the parties’ productions. ASC
           anticipates, however, that all ESI will be produced with standard metadata fields.

           Defendants: Defendants Werner, James Burkhart, and the Ganote Defendants agree.


        6. ESI Format. Set forth the format in which each party will produce ESI in this matter.

           Plaintiff: ASC anticipates the parties will agree upon an ESI Protocol that will set
           forth the format of production in greater detail. ASC anticipates, however, that files
           will be produced as .tiff images with an accompanying load file, except that
           documents typically produced in native format, such as Microsoft Excel and
           PowerPoint files shall be produced natively. For any document produced natively, the
           producing party shall also produce a slipsheet indicating the filename of the native
           production.

           Defendants: Defendants Werner, James Burkhart, and the Ganote Defendants agree.



        7. Discovery Sequencing. Have the parties agreed on a plan for the sequencing of
           discovery in this matter? X Yes No

           If yes, please describe such agreements:

           The parties agree that the completion of written discovery and the parties’ document
           productions shall take place prior to depositions. The parties agree to respond to any
           document requests within 30 days, and to deliver a substantial production within 30
           days thereafter. The parties are permitted to make rolling productions thereafter.
           Document productions must be completed within timeframe that will be subsequently
           agreed to by the parties, to allow for depositions to occur in a reasonable amount of
           time before the close of fact discovery.


           If no, please describe the efforts undertaken to reach agreement and identify the
           issues that remain outstanding:


        8. Search Protocol. Have the parties agreed on any protocol for the identification and
           review of relevant ESI (e.g., search terms, predictive coding, etc.)? Yes X No




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           If yes, please describe such agreements, including, if applicable, a list of agreed
           search terms to be used:

           If no, please describe the efforts undertaken to reach agreement and identify the
           issues that remain outstanding:

           The parties agree that generally, search terms should be applied to relevant data
           sources in order to identify the documents that will be reviewed to determine
           responsiveness to the written discovery requests. The parties agree to meet and
           confer following the issuance of requests for production to agree upon search terms.
           The parties further agree that for particular data sources search terms are not
           appropriate. For example, if a defendant created an email address used solely for an
           entity which ASC claims served no purpose other than to conduct fraudulent business
           that harmed ASC, all communications contained in such accounts are relevant and
           should be produced.


        9. Preservation. Describe what efforts each party has undertaken to ensure the
           preservation of ESI potentially relevant to this matter and identify any unresolved
           issues pertaining to the preservation of ESI in this matter?

           Plaintiff: ASC began preserving documents immediately following the Government’s
           raid of certain Defendants’ homes and offices on September 15, 2015, and has
           collected and continued to preserve a significant volume of information.

           Defendant Werner: To the best of his knowledge and belief, all relevant documents
           and data within the possession and control of Werner at of the time of the public
           disclosure of the Government investigation have been preserved.

           Defendant James Burkhart and his counsel are working to ascertain what efforts have
           been undertaken to ensure the preservation of ESI and the current state of that ESI.
           To the best of his knowledge and belief, all relevant documents and data that were
           within Mr. Burkhart’s possession prior to his incarceration have been and remain
           preserved.

           Ganote Defendants: Upon information and belief, the Ganote Defendants preserved
           all data within their possession and control as of the date on which the Government’s
           investigation became public.

           Unresolved issues:


        10. Cost of Production. Each party should analyze the data provided in paragraph 2 and
            provide an estimate of the costs associated with production of ESI in this matter:




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           Plaintiff: ASC has already expended significant costs in preserving, collecting,
           reviewing and producing documents for production to the government in connection
           with the criminal action against certain defendants. ASC will be required to
           undertake yet more costs in connection with discovery in this matter. ASC does not
           anticipate that defendants will be required to expend significant additional costs, as it
           believes much of defendants’ potentially responsive information was preserved,
           collected, reviewed, and produced in connection with the criminal action against
           certain defendants.

           Defendant Werner: Werner’s discovery position is unique and unlike other
           Defendants. Werner anticipates significant costs to process, search, and review the
           relevant volume in this case which ASC estimated in open Court as more than 10
           Terabytes. All parties except Werner already incurred most of their discovery costs
           and therefore have a substantial discovery advantage. Werner intends to work with
           the parties to develop a keyword search protocol and possibly employ other protocols
           to facilitate efficiencies during the discovery process to assist in and manage the
           volume of discovery.

           Defendant James Burkhart: Due to his incarcerated status and retention of new
           counsel, Defendant James Burkhart anticipates incurring significant costs from the
           transferring, processing, storage and review of the believed to be voluminous ESI in
           this matter. Counsel for Mr. Burkhart are working with their client to determine the
           true scope of ESI at hand and plan to work with all parties to develop systems and
           strategies directed towards minimizing discovery-related costs.

           The Ganote Defendants have already incurred significant expenses in preserving and
           analyzing the documents in this case. The Ganote Defendants anticipate continued
           expenditures in order to satisfy their discovery obligations in this matter.


        11. Cost Allocation/Savings. Describe below the parties’ discussions regarding cost-
            shifting or cost-savings measures in this matter and set forth in detail any agreements
            reached between the parties in that regard:

           Each party should bear its own costs regarding the collection and production of ESI,
           except to the extent that ASC is entitled to reasonable attorneys’ fees if it prevails on
           its claims. All parties reserve their rights to seek cost sharing, however, to the extent
           that compliance with discovery requests are excessively burdensome.

           The Ganote Defendants agree that each party should bear its own costs.

           Defendants Werner and James Burkhart have not taken a position with respect to this
           section because of their and their lawyers’ unfamiliarity with ESI within the
           possession and control of all other parties.




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         12. Discovery Proportionality. Do the parties agree that the discovery of ESI in this
             matter satisfies the proportionality standard set forth in Fed. R. Civ. P. 26(b)(2)(C)?
             X Yes No

             The parties agree to issue discovery requests that are proportional to the needs of the
             case.

             If no, identify the nature of the dispute:


         13. Claw Back Agreement. Have the parties agreed on the following unintentional
             production “claw back” provision? X Yes No


        The parties have agreed to the entry of an agreed order pursuant to Federal Rule of
  Evidence 502(d), containing the following provisions:

          1.      The production of privileged or work-product protected documents, electronically
  stored information ("ESI") or information, whether inadvertent or otherwise, is not a waiver of
  the privilege or protection from discovery in this case or in any other federal or state proceeding.
  This Order shall be interpreted to provide the maximum protection allowed by Federal Rule of
  Evidence 502(d).

         2.      Nothing contained herein is intended to or shall serve to limit a party's right to
  conduct a review of documents, ESI or information (including metadata) for relevance,
  responsiveness and/or segregation of privileged and/or protected information before production.

         3.       Any party having produced material described in paragraph 1 may request that
  such material be returned within a reasonable time period. In the event that such a request is
  made, all parties to the litigation and their counsel shall promptly return all copies of the
  document in their possession, custody, or control to the producing party and shall not retain or
  make any copies of the document or any documents derived from such document. The
  producing party shall promptly identify the returned document on a privilege log.


         14. Other. Identify all outstanding issues or disputes concerning ESI not otherwise
             addressed herein.

             Plaintiff: None.

             Defendants:

             Defendant Werner: None at this time

             Defendant James Burkhart: none at this time; save for his limited access to counsel
             and restricted or lack of access to discovery and ESI due to being incarcerated.



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           Ganote Defendants: None at this time.




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